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; Supreme Court of the United States
United States Courts 6
Southern District of Texas Office of the Clerk

FILED Washington, DC 20543-0001
December 04, 2018

Scott S. Harris
Clerk of the Court

David J. Bradley, Clerk of Court December 3, 2018 (202) 479-3011

Clerk

United States Court of Appeals for the Fifth Circuit
600 S. Maestri Place

New Orleans, LA 70130

Re: Residents Against Flooding, et al.

v. Reinvestment Zone Number Seventeen, City of Houston, Texas,
et al.

No. 18-535
(Your No. 17-20373)
USDC No. 4:16-cv-1458

Dear Clerk:

The Court today entered the following order in the above-entitled case:

The petition for a writ of certiorari is denied.

Sincerely,

full & You

Scott S. Harris, Clerk
Case 4:16-cv-01458 Document 29 Filed on 12/04/18 in TXSD Page 2 of 2

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK
LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

December 04, 2018

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 17-20373 Residents Agnst Flooding v. Reinvestment
USDC No. 4:16-CV-1458

Dear Mr. Bradley,

Enclosed is a copy of the Supreme Court order denying certiorari.

Sincerely,
LYLE W. CAYCE, Clerk

py: My Cupido
Stacy M.” Carpenter, Deputy Clerk
